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IN THE UNITED sTATEs DISTRICT coUR',r;§.. =,;HRYLAND
FoR THE DISTRICT oF MARYLAND "“
UNITED sTATEs oF AMERICA ; MWE» “3 P‘ Z¥ H
v- = cRIMINAL No. ccB-'o'l"~'t)"§§§f§§€
ALAN B. FABIAN, :

"Q
Defendant. `UTY

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ORDER OF RESTITUTION AND FORFEITURE
After a review of the government's Motion for a Final
Order of Forfeiture and the pertinent record, it is this _§;;;
`J W""‘
day ofléay 2009 ORDERED, ADJUDGED, AND DECREED as follows:
1. In accordance with the Supplemental Settlement
Agreement that is annexed to the government's motion for an order
of forfeiture and restitution, the United States of America is
directed to release the following items to claimant, JATAP Group
LLC:
b. One 2007 Audi, VIN #WAIBV94L67D032421;
C. One 2006 Audi, VIN #WAUML44E86N004411;
d. One 2003 Lexus, VIN #JTHFN48Y530040882;

e. Real property, 117, 119 and 120 Ocean Boulevard
West, Holden Beach, North Carolina 28462;

f. Real property, 887 Ocean Boulevard West, Holden
Beach, North Carolina 28462;

g. $60,555.11 from the funds held by the Clerk of
the Court for the District of Maryland, made
payable to JATAP Group LLC.
2. In accordance with the Supplemental Settlement
Agreement that is annexed to the government's motion for an order

of forfeiture and restitution, the United States of America is

directed to release the following assets to the Clerk of the

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Court to be applied solely to the restitution order in this case,
and to be distributed to victims on a pro rata basis:
a. S37,500 U.S. Currency submitted to the U.S.
Marshal Service on or about February 12, 2009,
representing proceeds from the sale of 889 Ocean
Boulevard West, Holden Beach, North Carolina
28462; and
b. $147,000 U.S. Currency from the funds held by
the
Clerk of the Court for the District of Maryland.
3. The defendant Alan B. Fabian shall pay to the
United States of America a money judgment of $20,000,000.

4. The clerk of the court shall provide copies of

this order to counsel of record.

Cathérine C. Blake
United States District Judge

